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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: ASBESTOS PRODUCTS :
LIABILITY LITIGATION (No. VI): Consolidated Under
: MDL DOCKET NO. 875

CERTAIN PLAINTIFFS
v. : FILED
NOV 13 2009

MICHAEL E. KUNZ, Clerk
By Dep. Clerk

CERTAIN DEFENDANTS

ORDER
AND NOW, this 4th day of November 2009 it is hereby
ORDERED that all claims against all the viable defendants in the
cases listed in “Exhibit A”, attached, are dismissed without
prejudice pursuant to Federal Rule of Civil Procedure 41(a) (2).

It is further ORDERED that these cases will be transferred

to the “Bankruptcy Only” docket?.

AND IT IS SO ORDERED.

EDUARDO C. ROBRENO, J.

4b . The bankruptcy-only docket contains all claims against
all defendants in bankruptcy proceedings.
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Exhibit “A”

Plaintiff’s Name E.D. Pa. Case Number

ANNA MAE STARADUMSKY 2:91-cv-03475-JG

RUTH I. PERDUE
DARLENE SCARPATO
HARRY STARK
ELIZABETH ASCENCIO
JEREMIAS GEMELLAS
ARLINE KLOS

ADAM FELETKSI
ARTHUR BECKMANN
ABRAHAM KATZ
BENJAMIN JAREFSKY
ELLA DAVIS

PHYLLIS POWELL
MELVIN JOHNS
CATHERINE HEGENBARTH
MICHAEL KOHONOVICH
GABRIEL CUSANI
DELIA BAILEY

LEON LAMKIN
O'CONNELL CANTRELL
ANGELA BIANCO
ETHEL CLARK
CHARLES G. CALHOUN
BARBARA DUNLEAVY
BERTHA ROBINSON
VERLON CRISS

GENE JOHNSON
BENJAMIN C. NASH
WILLIAM LOGAN
PHILIPPE STONE
CATHERINE E. QUINNEY
ROBERT J. GARDNER
DORA HAMMERSLEY
DOROTHY DELPAGGIO
DOLORES L. PYNE
ELSIE QUEFLANDER
ELEFTERIA MIHALOS
J. DALE LUTZ

ANNA MANLEY
CHARLES TURNEY
JOSEPH F. LAWLER
JOSEPH ACHUFF
BARRY CHAZIN
JOSEPH RADOLAN
HELEN BROOKS
CAROL K. FOSSELL
EDITH NEELAN <
DENNISE L. VANDEGRIFT
CYNTHIA HILBERT
IRIS HOOPER

2:91-cv-03495-JG
2:91-cv-03553-JG
2:91-cv-03564-JG
2:91-cv-03644-JG
2:91-cv-03645-JG
2:91-cv-03646-JG
2:91-cv-03703-JG
2:91-cv-03715-JG
2:91-cv-03719-JG
2:91-cv-03739-JG
2:91-cv-03769-JG
2:91-cv-03825-JG
2:91-cv-03826-JG
2:91-cv-03827-JG
2:91-cv-03842-JG
2:91-cv-03931-JG
2:91-cv-03968-JG
2:91-cv-03969-JG
2:91-cv-03970-JG
2:91-cv-03971-JG
2:91-cv-03972-JG
2:91-cv-04015-JG
2:91-cv-04016-JG
2:91-cv-04021-JG
2:91-cv-04022-JG
2:91-cv-04023-JG
2:91-cv-04024-JG
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2:91-cv-04026-JG
2:91-cv-04119-JG
2:91-cv-04241-JG
2:91-cv-04247-JG
2:91-cv-04248-JG
2:91-cvy-04249-JG
2:91-cv-04250-JG
2:91-cv-04251-JG
2:91-cv-04252-JG
2:91-cv-04253-JG
2:91-cv-04254-JG
2:91-cv-04255-JG
2:91-cv-04256-JG
2:91-cv-04257-JG
2:91-cv-04258-JG
2:91-cv-04281-JG
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2:91-cv-04413-JG
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2:91-cv-04420-JG
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JOSEPHINE MALACHI
DOROTHY HATHCOCK
BERTHA RIVERS

JOHN SAYLOR

DONNA M. MEEHAN
JACOB A. KARLEY
EDITH WILSON

ALLIE FOWLKS
SAMUEL H. GRIFFITH
DORIS JAMES

CARL C. JUNE
GERALDINE ZIEGLER
FRANCIS MOOCK
FRANK F. BEAM
HENRY TRIO

JEAN DALE

WILLIAM J. BONNER
DORIS BOINS

CAROL F. FOX
BARBARA M. BOYLE
ANTONIO GRAMAGLIA
AUNTINETTE JACKSON
DOROTHY M. SCHULTZ
ELIZABETH KACHURKA
LILLIAN HULL
CHARLES MOTTRAM
FLORENCE CARR
ELIZABETH O'LEARY
LAURA M. RADIL
HELEN TOMACCIO
EARL RUSSELL
BARBARA ANN CLAUSS
OTTO J. ALEX
BARBARA GORMAN
ALBERT DAY

JOHN FAITH

DANIEL RECCHIUTI
SARAH SIMMONS
CATHERINE ARMSTRONG
ANTHONY CURCIO
GEORGE GRAVES
EUGENE WISNIEWSKI
CAROLINE MONTELEONE
CHRISTOPHER BUCHLER
GRACE TUMOLO

ANNE MARY WILLIAMSON
FRED PICCINNI

JOHN RUSSELL

CAROL LONG

JOHN WISNIEWSKI
MARY J. IULIANO
MARIE AUNGST
RANDOLPH ROGERS
DONALD W. FIELD
ANITA MARINO
MYRTICE GASTON

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2:91-cv-04565-JG
2:91-cv-04570-JG
2:91-cv-04572-JG
2:91-cv-04573-JG
2:91-cv-04574-JG
2:91-cv-04575-JG
2:91-cv-04595-JG
2:91-cv-04597-JG
2:91-cv-04598-JG
2:91-cv-04619-JG
2:91-cv-04620-JG
2:91-cv-04621-JG
2:91-cv-04669-JG
2:91-cv-04724-JG
2:91-cv-04756-JG
2:91-cv-04762-JG
2:91-cv-04763-JG
2:91-cv-04764-JG
2:91-cv-04765-JG
2:91-cv-04766-JG
2:91-cv-04788-JG
2:91-cv-04828-JG
2:91-cv-04755-JG
2:91-cv-04885-JG
2:91-cv-04886-JG
2:91-cv-04887-JG
2:91-cv-04974-JG
2:91-cv-04990-JG
2:91-cv-05002-JG
2:91-cv-05003-JG
2:91-cv-05004-JG
2:91-cv-05005-JG
2:91-cv-05052-JG
2:91-cv-05056-JG
2:91-cv-05159-JG
2:91-cv-05160-JG
2:91-cv-05247-JG
2:91-cv-05248-JG
2:91-cy-05249-JG
2:91-cv-05250-JG
2:91-cy-05269-JG
2:91-cv-05306-JG
2:91-cv-05307-JG
2:91-cv-05372-JG
2:91-cv-05373-JG
2:91-cv-05397-JG
2:91-cy-05398-JG
2:91-cv-05399-JG
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JAMES MICHAEL DRASS
ALFRED DINICOLA
JEANETTE GREENBERG
ALFRED N. FALCIANI
MARY ANNE SANDS
JOHN H. WALLSTIN
CLARENCE R. ZANE
BERTHA FELDMAN
ELIZABETH DUVOL
DOROTHY MINNEY
JOHN R. KUMES

IDA WILSON
HAROLD COLLER
JAMES CONROY
JAMES W. MOYER
CAROLINE SHARON
HELEN SPONTAK
DAVID O. GROSSMAN
CALEB MILLER
CHARLES F. KELLER
HENRY R. HEIL
ANTHONY CARONIA
JOHN J. LIND

JOAN E. BRADY
MERCEDES CARL
CLARA HALDEMAN
FLORENCE HARHI
ARLENE NEGRELLO
MALCOM MADENFORD
ALIENE OLIVER

LEO T. BEHE
GEORGIAN M. KLINE
HAROLD BEHRMAN
BONNIE BOSAK
OLGA HAAS

ERNEST ABRAHAM
KATHRYN FRENZEL
FLORENCE R. DERR
EVA MINKS

JOHN BRADLEY
DMYTRO MYSKO
FLORENCE FRANKS
MYRTLE WENZEL
EDITH WHEATON
JEANNE MAGDIN
CATHERINE PRIDE
DAVID SCHUSTER
JOHN SHEARER
CARL ZIMMERMAN
DOLORES BUTLER
ESTHER LEPIERE
GENEVIEVE KARPINSKI
ELSIE DUNN
ARTHUR WOOD

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2:91-cv-05443-JG
2:91-cv-05449-JG
2:91-cv-05477-JG
2:91-cv-05478-JG
2:91-cv-05479-JG
2:91-cv-05480-JG
2:91-cv-05481-JG
2:91-cv-05482-JG
2:91-cv-05483-JG
2:91-cv-05484-JG
2:91-cv-05485-JG
2:91-cv-05508-JG
2:91-cv-05509-JG
2:91-cv-05510-JG
2:91-cv-05511-JG
2:91-cv-05512-JG
2:91-cv-05531-JG
2:91-cv-05539-JG
2:91-cv-05555-JG
2:91-cv-05723-JG
2:91-cv-05741-JG
2:91-cv-05742-JG
2:91-cv-05743-JG
2:91-cv-05745-JG
2:91-cv-05746-JG
2:91-cv-05748-JG
2:91-cv-05750-JG
2:91-cv-05751-JG
2:91-cv-05752-JG
2:91-cv-05753-JG
2:91-cv-05754-JG
2:91-cv-05767-JG
2:91-cv-05769-JG
2:91-cv-05770-JG
2:91-cv-05771-JG
2:91-cv-05804-JG
2:91-cv-05920-JG
2:91-cv-05928-JG
2:91-cv-05929-JG
2:91-cv-05930-JG
2:91-cv-05932-JG
2:91-cv-06003-JG
2:91-cv-06103-JG
2:91-cv-06105-JG
2:91-cv-06106-JG
2:91-cv-06121-JG
2:91-cv-06127-JG
2:91-cv-06128-JG
2:91-cv-06129-JG
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MATTHEW FINUCANE
PHYLLIS PENNETTI
DANIEL ARTHUR
LILLIAN BOZZI
PATRICIA GEREW
ROSEMARIE MILEY
BONNIE HARP
EDWARD SCULL

JOHN DANTZLER
EILEEN MOOD
DOMENICK R. MASSEI
CATHERINE LYONS
HARRY MCDOUGAL
OLGA KETEL
CAROLYN J. GREEN
FRANK MIRENO
ROLLAND GASKINS
FRANK McANALLY
JOSEPH ENNIS
MARLENE HAIG
EMMANUEL MONACO
HARRY BOCCELLI
MARGARET MARQUART
ELIZABETH M. LEPPING
JAMES GAUGHAN
AUDREY SIMS

ANNA KISSINGER
HENRY SCOTT
ROBERT H. HAMILTON
MARTIN BOSCO
JANET MORAVEC
IRVING F. MOORE
JAMES TERRANOVA
FRANK LUPI
ANTHONY G. SIMONE
MAX FOX

ANNA TOMECHECK
CARL BERG

BEVERLY ROWLEY
LAWRENCE R. MILLER
JOSEPH CAMPELLONE
JOHN FERGUSON
JOHN G. SANTONE
CHARLES CRAMER
ANTHONY PAGLIOCCA
LORRAINE KONACK
JEAN KNIESE

HELEN WOLBERT
ROBERT WAITE
LAWRENCE WHYNO
JEANETTE SNITKIN
GEORGE AMENT
BONNIE ANNE CONNORS
CREIGHTON L. RIGGS
GEORGE WOODS
JOSEPHINE PRIMICK

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2:91-cv-06327-JG
2:91-cv-06328-JG
2:91-cv-06329-JG
2:91-cv-06332-JG
2:91-cv-06380-JG
2:91-cv-06454-JG
2:91-cv-06481-JG
2:91-cv-06482-JG
2:91-cv-06529-JG
2:91-cv-06554-JG
2:91-cv-06777-JG
2:91-cv-06812-JG
2:91-cv-06821-JG
2:91-cv-06887-JG
2:91-cv-06962-JG
2:91-cv-07137-JG
2:91-cv-07138-JG
2:91-cv-07159-JG
2:91-cv-07173-JG
2:91-cv-07189-JG
2:91-cv-07248-JG
2:91-cv-07280-JG
2:91-cv-07348-JG
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2:91-cv-07360-JG
2:91-cv-07362-JG
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2:91-cv-07519-JG
2:91-cv-07544-JG
2:91-cv-07605-JG
2:91-cv-07606-JG
2:91-cv-07628-JG
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2:91-cv-07731-JG
2:91-cv-07732-JG
2:91-cv-07782-JG
2:91-cv-07803-JG
2:91-cv-07804-JG
2:91-cv-07806-JG
2:91-cv-07855-JG
2:91-cv-07869-JG
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2:91-cv-07905-JG
2:91-cv-07906-JG
2:91-cv-07965-JG
2:92-cv-00082-JG
2:92-cv-00137-JG
2:92-cy-00201-JG
2:92-cv-00204-JG
2:92-cv-00213-JG
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2:92-cv-00331-JG
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GLORIA A. JOHNSON
HUGH P. DOUGHERTY
DOLORES DONOHUE
DONALD GOODMAN
RICHARD F. BEERS
DELMAR NEAL

JESSIE JAMES
CHARLES A. WITSEL
CARLTON F. HARBOLD
CALVIN G. KLINGER
ANGELINE LYNCH
ANNA SUBIEL

J. BEN KROHN
DONALD N. GIBBONS
GLADYS BURRELL
ELOISE OLIVER

RUDY NICKISHER
ELMER DIEHL

EVA GISH

MARIE SENIOR
WILLIAM COOK

KAY WATTERS
ANTHONY J. ANTOLINO
ALEXANDER SALAMON
CHARLES DeSORTE
GEORGE WELKER
ARTHUR W. BROSIUS
ELAINE DENSHAW
CATHERINE BOWDEN
DONALD THRONE KINZER
BETTY MYERS

LIN WICKMAN

ALVIN OLSON

PAUL SCHLATTER
DOROTHY HOBBS
HENRY SMITH
EDWARD VONDERWEIDT
GEORGE McINTYRE
JOHN J. DOLAN
DOROTHY MORRISON
ALOYSIUS G. GUMMEL
HEZEKIAH McKINNEY
MASON R. LYNCH
DOROTHY V. SCOTT
FRANCIS R. MULLIN
CHARLES PLUMMER
WILLIE CARTER

ANN SHIRLEY REESE
EVELINE MARINO
SHARON L. SMITH
EDWARD DOUGHERTY
MARVIN MILLER
ALLAN N. MUSCIANESE
RUTH WERNER
GERALDINE WORLEY

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2:92-cv-00520-JG
2:92-cv-00522-JG
2:92-cv-00523-JG
2:92-cv-00524-JG
2:92-cv-00530-JG
2:92-cv-00559-JG
2:92-cv-00560-JG
2:92-cv-00688-JG
2:92-cv-00690-JG
2:92-cv-00692-JG
2:92-cv-00693-JG
2:92-cv-00695-JG
2:92-cv-00700-JG
2:92-cv-00703-JG
2:92-cv-00704-JG
2:92-cv-00738-JG
2:92-cv-00739-JG
2:92-cv-00740-JG
2:92-cv-00796-JG
2:92-cv-00976-JG
2:92-cv-00991-JG
2:92-cv-01002-JG
2:92-cv-01007-JG
2:92-cv-01008-JG
2:92-cv-01009-JG
2:92-cv-01022-JG
2:92-cv-01023-JG
2:92-cv-01038-JG
2:92-cy-01040-JG
2:92-cv-01056-JG
2:92-cv-01057-JG
2:92-cv-01117-JG
2:92-cv-01119-JG
2:92-cy-01121-JG
2:92-cv-01122-JG
2:92-cv-01268-JG
2:92-cv-01285-JG
2:92-cv-01286-JG
2:92-cy-01287-JG
2:92-cv-01288-JG
2:92-cv-01479-JG
2:92-cv-01480-JG
2:92-cv-01515-JG
2:92-cv-01711-JG
2:92-cv-01712-JG
2:92-cv-01801-JG
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2:92-cv-01805-JG
Case 2:91-cv-06482-ER Document17 Filed 11/13/09

MAILED:

ALAN W. LESSO

ALBERT S. SHAW
AMANDA COOPERMAN
ANN M. O'KEEFE
ANTOINETTE MC LAUGHLI
B. ALAN DASH

C. THOMAS BROWN
CATHERINE C PYUNE
CHRISTINE L CIARROCCHI
CHRISTOPHER PATTERSON
CLARENCE M. THOMAS
COLLEEN M. HICKEY
CRAIG DAVID LANDIN
CRISTY B. HOLLIN

E. GRAHAM ROBB
EDWARD CURTIN
EDWARD J. WILBRAHAM
EDWARD M. GARRIGAN-N
ELLEN BROWN FURMAN
ESTHER BEREZOFSKY
EVAMARIE KONOW
FRANK C. BENDER
FRANK N. GALLAGHER
FREDRIC L. GOLDFEIN
GEORGE E. MCDAVID
GEORGE M. DEMPSTER
GEORGE W. HOWARD
GERSHON D. GREENBLATT
HOWARD J. LEVIN
HOWARD J. LEVIN

|. STEVEN LEVY

J. SHANE CREAMER
JACKSON Y. JENNINGS
JAMES C. LONG

EMAILED:

ALAN |. REICH
ALEXANDER EWING
ANDRE L. DENNIS
ANDREW J. TREVELISE
BARBARA J. BUBA
BARBARA R. BINIS
BEATRICE O'DONNELL
BENJAMIN P. SHEIN
BRENDA M. FLOCK

C. JAMES ZESZUTEK
CARL H. DELACATO
CATHERINE N JASONS
CHRISTINA G TERSHAKOVE
CHRISTINE O BOYD
CHRISTOPHER SANTORO
CY GOLDBERG

DANIEL SEGAL

DANIEL G. CHILDS

CERTIFICATE OF SERVICE

JAMES R. FREEMAN
JANE E. MCNERNEY
JEFFREY B. SCHWARTZ
JEFFREY C. SCHWARTZ
JEREMY D. MISHKIN
JERRY KRISTAL

JOHN FUSCO

JOHN B. HANNUM

JOHN PATRIC KELLEY
JONATHAN E. RICH
JOSEPH A. SELLITTI
JOSEPH D. SHEIN
JOSEPH J. MALCOLM
JOSEPH M. O'NEILL
KATHLEEN D. WILKINSON
LAURA J. MELTZER
LAWRENCE E. CURRIER
LEONARD C. JAQUES
LESLIE T. BRADLEY

LISA M. BRITCHKOW
LISA M. PASSANTE

M. GEORGE MOORADIAN
MARILYN HEFFLEY
MARK N. COHEN

MARY J. DAVIS

MARY J.B. EIDELMAN
MELVIN BROOKMAN
MITCHELL S. COHEN
MONTE BRICKER
NATHAN A. SCHACHTMAN
NELSON LEVIN
NICHOLAS S. LIPPINCOTT
NICOLE L. HERMAN
NORMAN H. PETTY

DANIEL J. MAHER

DANIEL J. RYAN

DAVID A. DAMICO

DAVID A. SILVERSTEI
DAVID B. WINKLER

DAVID E. BRENNER

DAVID E. FAUST

DAVID J. OTIS

DAVID L. PENNINGTON
DON ANTHONY INNAMORATO
DONALD A. MARSHALL
DONALD R. GOSNAY

E. LAWRENCE HANNAWAY
EDWARD RUBIN
EDWARD M. NASS
EDWARD O. MOODY
EDWARD R. PAUL

ERIC J. KADISH

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OVERTON S. ANDERSON
PAUL E. HOLL

PAUL J. LA BELLE
PETER A. GLASCOTT
PETER L. FISS

PETER MEADO ADELS
RALPH S. SNYDER
REGINALD S. KRAMER
RICHARD B. SCHWARTZ
RICHARD E. DUNNE
RICHARD E. RUFFEE
RICHARD M. SAND
ROBERT C. THURSTON
ROBERT P. CORBIN
RONDA A. JAFFEE
SAMUEL J. B ANGELL
SEBASTIAN P LOMBARDI
SOPHIA L. RANALLI
STEPHEN BOSCH
STEPHEN D. ELLIS
STEPHEN M. SNYDER
STEPHEN W. WILSON
STEVEN P. FRANCKHAUS
SUSAN MCLAUGHLIN
SUSAN W. DONAGHY
SUZANNE M. BOHANNON
TERANCE P. KENNEDY
THOMAS O'NEILL
THOMAS J. HAMILL
TIMOTHY J. MCCUEN
TOM F. LOVETT
WILLIAM G. BOYLE
WILLIAM R. HOURICAN

EUGENE S. BOGGIA
FAUSTINO MATTIONI
FRANK C. B. FRIESTEDT
FREDERICK M WALTON

G. DANIEL BRUCH

GARY H. KAPLAN
GEOFFREY H. BASKERVILL
GERALD B. SULLIVAN
GORDON WAYN RENNEISEN
GREGORY VOCI
GREGORY J. KOWALSKI
HENRY E. BILLINGSLE
HENRY J. SOMMER
HERMAN J. WEINRICH
HOWELL K. ROSENBERG
IRA S. LEFTON

IVAN A. GUSTAFSON

JACK EMAS

PA-E Cert of Svc 11-10-09 - no.2
Case 2:91-cv-06482-ER Document17 Filed 11/13/09 Page 8 of 8

EMAILED (CON'T):

JAMES F. RYAN
JAMES K BRENGLE
JAMES P. GANNON
JAMES T. FITZGERALD
JANET E. GOLUP
JEFFREY A. KRAWITZ
JEFFREY L. PETTIT
JESSICA N. CONE
JOAN A. ZUBRAS
JOAN F. JAFFE

JOEL D. GUSKY

JOHN A. TURLIK

JOHN F. KENT

JOHN F. LEDWITH
JOHN J. DELANY
JOHN J. DUGAN

JOHN W. MORRIS
JONATHAN WHEELER
JOSEPH J. SERRITELLA
JOSEPH P. SULLIVAN
JOSEPH W. GIBLEY
KENNETH J. POWELL
KENNETH M. PORTNER
KEVIN C. TIERNEY
KEVIN J. O'BRIEN
LARRY HAFT
LAURENCE H. BROWN
LAWRENCE R. COHAN
LEE B. BALEFSKY
LEIGH BECHTLE

LISA BETH FLICKSTEIN
LISE LUBORSKY
LOUIS BELL

M. DUNCAN GRANT
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MARGARET A. BARRY
MARK = LIPOWICZ

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MARK R. CUKER
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NORMAN PERLBERGER
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